                IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        STATESVILLE DIVISION
                            5:07CV71-02-V
                           (5:05CR235-1-V)


WHITNEY KERMIT SIMON,         )
     Petitioner,              )
                              )
          v.                  )               O R D E R
                              )
UNITED STATES OF AMERICA,     )
     Respondent.              )
______________________________)


     THIS MATTER is before this Court upon the petitioner’s form

“Motion To Vacate, Set Aside Or Correct Sentence . . . “ under 28

U.S.C. §2255, filed June 21, 2007.      For the reasons stated here-

in, the petitioner’s Motion to Vacate will be dismissed for

failure to state a claim for relief.

              I.   FACTUAL AND PROCEDURAL BACKGROUND

     According to the record of his underlying criminal case, on

August 23, 2005, the petitioner (along with twelve other persons)

was charged with conspiring to possess with the intent to distri-

bute 50 grams or more of cocaine base and five kilograms or more

of powder cocaine, all in violation of 21 U.S.C. §846.

     On December 9, 2005, the petitioner entered into a written

Plea Agreement by which he agreed to plead guilty to the charge

which he was facing.    Such written Agreement stipulated, inter

alia, that the amount of cocaine base which was known or reason-

ably foreseeable by the petitioner was in excess of 1.5




  Case 5:05-cr-00235-KDB-DCK   Document 410   Filed 07/09/07   Page 1 of 7
kilograms; and that the corresponding offense level was 38.

     The Plea Agreement also set forth a waiver provision by

which the petitioner, in consideration of certain concessions

which were being offered by the government, agreed to waive his

right to directly appeal his case, or to collaterally challenge

his conviction or sentence on any grounds, except ineffective

assistance of counsel and/or prosecutorial misconduct.           The

parties’ Agreement was filed with the Court on December 19, 2005.

     Next, on January 5, 2006, the petitioner appeared before the

Court for a Plea & Rule 11 Hearing.      On that occasion, the Court

engaged the petitioner in its standard, lengthy colloquy to

ensure that he fully understood what he was doing, was proceed-

ing on his own volition, and understood the terms and conditions

of his Plea Agreement.    After hearing the petitioner’s answers to

its numerous questions, the Court found that his guilty plea was

being intelligently and voluntarily tendered pursuant to the Plea

Agreement, and so the Court accepted the plea.

     On June 19, 2006, the government filed a “Motion For A Down-

ward Departure . . . .”    Such Motion, made pursuant to U.S.

Sentencing Guidelines §5K1.1, reported that the petitioner’s

Total Offense Level was 37, his criminal history category was IV,

and his corresponding range of imprisonment was a term of life

imprisonment.   Further, the Motion reported that the petitioner

had timely cooperated with the government; therefore, the


                                   2


  Case 5:05-cr-00235-KDB-DCK   Document 410   Filed 07/09/07   Page 2 of 7
government requested a two-level reduction in the petitioner’s

Offense Level, and a total sentence of 240 months imprisonment.

     Thereafter, on June 19, 2006, the Court conducted a Factual

Basis & Sentencing Hearing for the petitioner.           During that pro-

ceeding, the Court affirmed its acceptance of the petitioner’s

guilty plea, and it granted the government’s Motion for a Down-

ward Departure.   However, after hearing from the parties, the

Court sentenced the petitioner to a term of 195 months imprison-

ment, rather than to the 240-month term for which the government

had argued.   The Court’s Judgment was filed on July 12, 2006, but

the petitioner did not seek a direct appeal of his case.

     Rather, after waiting more than ten months, the petitioner

returned to this Court with the instant Motion to Vacate.              By

this Motion, the petitioner claims only that his “sentence was

enhanced due to an error of fact in the Presentencing Report.”

However, inasmuch as the petitioner has waived his right to bring

this claim and, in any event, the claim is factually baseless,

the petitioner’s claim will be summarily dismissed.

                               II.   ANALYSIS

     1.   The petitioner’s claim of sentencing error
          is barred by the waiver provision in his
          Plea Agreement.

     As has been noted, the petitioner pled guilty pursuant to a

written Plea Agreement with the government.          That Agreement

contained a waiver provision by which the petitioner waived the


                                      3


  Case 5:05-cr-00235-KDB-DCK    Document 410    Filed 07/09/07   Page 3 of 7
vast majority of his rights to collateral review. Therefore, in

the absence of any reason why such waiver should not be enforced

by this Court, the petitioner’s claim must be summarily rejected.

       Indeed, the Fourth Circuit has repeatedly approved the

knowing and voluntary waiver of a defendant’s rights to appeal

and/or to collaterally challenge his conviction and sentence.

See, e.g., United States v. General, 278 F.3d 389, 399-01 (4th

Cir) (finding waiver “knowing and intelligent” based upon totali-

ty of the circumstances), cert. denied, 536 U.S. 950 (2002);

United States v. Brown, 232 F.3d 399 (4th Cir. 2000); United

States v. Marin, 961 F.2d 493, 496 (4th Cir. 1992); and United

States v. Davis, 954 F.2d 182, 185-86 (4th Cir. 1992).

       To be effective, “the record must show that the waiver was

based on a knowing and intelligent decision.”         General, 278 F.3d

at 400 (internal quotation omitted), quoting Davis, 954 F.2d at

186.    In determining whether a waiver of appellate rights is

“knowing and voluntary,” and therefore effective, the Fourth

Circuit applies a “totality of the circumstances” test to the

facts.    General, 278 F.3d at 400-01.    To put it another way,

whether a waiver of the right to appeal is knowing and intelli-

gent depends on the facts and circumstances surrounding its

making, including the defendant’s background, experience and

conduct.    Davis, 954 F.2d at 186.    Thus, a waiver can be effec-

tive even if the court does not question the defendant about it,


                                   4


  Case 5:05-cr-00235-KDB-DCK   Document 410   Filed 07/09/07   Page 4 of 7
so long as the other evidence in the record shows that the waiver

was informed and voluntary.     Id.

     In the instant case, the petitioner, under the advice of an

attorney about whom he does not complain, executed a Plea Agree-

ment by which he agreed to waive his right to collaterally

challenge his conviction or sentence on the ground which he has

set forth in the instant Motion to Vacate.        Moreover, after exe-

cution of that Agreement, the petitioner appeared before the

Court and answered numerous questions relating to it.           That is,

during the petitioner’s Plea & Rule 11 Hearing, he swore that he

had discussed numerous matters with his attorney, including the

nature and consequences of his guilty plea, the terms and

conditions of the parties’ Agreement, and the waiver provisions

which are set forth in the Agreement.

     Consequently, inasmuch as the petitioner has not even hinted

at any basis upon which this Court could disregard such sworn

representations, the Court finds that the waiver provisions in

the petitioner’s Plea Agreement are fully enforceable, and stand

as an absolute bar to his right to proceed with this claim.

     2.   Even if it were not waived, the petitioner
          still could not prevail with this claim.

     Finally, it has not escaped the Court’s attention that the

petitioner’s claim of an erroneous sentence enhancement is fac-

tually baseless.   That is, the petitioner contends that his

sentence was enhanced on the basis of “a State charge of posses-

                                      5


  Case 5:05-cr-00235-KDB-DCK   Document 410   Filed 07/09/07   Page 5 of 7
sion of a firearm by a felon,” but since that State charge

subsequently was dismissed, he should not have received a two-

level increase in his offense level.

     However, as the page which the petitioner submitted from his

Pre-Sentence Report accurately reflects, the two-level increase

in the petitioner’s Offense Level was imposed pursuant to U.S.

Sentencing Guidelines §2D1.1(b)(1) because he was arrested while

engaged in drug trafficking activities and also found to be in

possession of a firearm on that occasion.        Contrary to the

petitioner’s suggestion, the increase was not applied because the

Probation Officer mistakenly thought that he had been convicted

of a State felon-in-possession charge.        Indeed, the portion of

the Pre-Sentence Report upon which the petitioner is relying made

no mention of any firearm-related conviction.          Thus, inasmuch as

§2D1.1(b)(1) calls for a two-level increase when an individual

possesses a firearm while trafficking in drugs, and does not

depend upon whether the individual has been charged with or con-

victed of a firearm-related charge, it is clear that the subject

enhancement properly was applied to the petitioner.

                          III.    CONCLUSION

     By the terms of his Plea Agreement, the petitioner waived

his right to bring a challenge to his sentence on the basis of an

allegedly erroneous Guidelines calculation, and he has failed

even to suggest that such waiver provision cannot now be enforced


                                   6


  Case 5:05-cr-00235-KDB-DCK   Document 410    Filed 07/09/07   Page 6 of 7
against him.   Moreover, the Court, for itself, has determined

that the waiver provision set forth in the petitioner’s Plea

Agreement is valid and fully enforceable against him.           According-

ly, the petitioner’s Motion to Vacate will be dismissed,

ultimately for the petitioner’s failure to state a claim for

relief.

                               IV.   ORDER

     NOW, THEREFORE, IT IS HEREBY ORDERED that the instant Motion

to Vacate is DISMISSED for failure to state a claim for relief.

     SO ORDERED.



                                         Signed: July 9, 2007




                                     7


  Case 5:05-cr-00235-KDB-DCK   Document 410   Filed 07/09/07   Page 7 of 7
